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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR S 07 00314 LKK
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING STATUS CONFERENCE
           v.                            )                AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18          A status conference is presently set for February 5, 2013. Counsel for Ms. Morales has
19   requested advance authorization from the court to have approximately 10,000 pages of discovery
20   scanned and distributed to counsel. Additional time is needed to complete this process and for
21   counsel to conduct an initial review of the discovery. Therefore, the parties request and stipulate
22   that the status conference be continued to March 5, 2013. The parties further stipulate that time
23   continue to be excluded until the March 5, 2013 status conference due to preparation of counsel
24   (Local Code T4), and that the interests of justice in excluding time outweigh the interests of the
25   defendants and the public in a speedy trial.
26
        DATED: February 1, 2013            /s/ Timothy E. Warriner
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28                                                    1
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 1                                        Attorney for defendant, TERESA MARIA MORALES
 2   DATED: February 1, 2013              /s/ Bruce Locke
                                          Attorney for defendant, ENRIQUE MORALES
 3
     DATED: February 1, 2013              /s/ Dina Santos
 4                                        Attorney for defendant, JOSE LUIS MORALES
 5   DATED: February 1, 2013              /s/ Kelly Babineau
                                          Attorney for defendant, JUAN MORALES
 6
 7   DATED: February 1, 2013              /s/ Donald P. Dorfman
                                          Attorney for defendant, PETRA PRECIADO MORALES
 8
     DATED: February 1, 2013              /s/ Kyle Reardon
 9                                        Assistant U.S. Attorney

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11
                                              ORDER
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        GOOD CAUSE APPEARING, it is hereby ordered that the status conference now set for
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     February 5, 2103 be continued to March 5, 2013 at 9:15 a.m. It is further ordered that time
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     continue to be excluded to March 5, 2013 for preparation of counsel pursuant to 18 U.S.C.
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     3161(h)(7)(B)(iv) and Local Code T4. Pursuant to the stipulation of the parties, the court
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     finds that the interests of justice in excluding time outweigh the interests of the defendants
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     and the public in a speedy trial..
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 .
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     DATED: February 4, 2013
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